Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 1 of 8 PagelD #: 338

 

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

 

Colin F. Campbell
December 19, 2022

 

 

Audrey M. Barbush, RPR
audrey@paramountreporting.com
605.321.3539

FR paramount
reporting

EXHIBIT

 

 

 

i
gies os

 
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 2 of 8 PagelD #: 339

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F. Campbell
December 19, 2022

 

 

 

 

 

Page 5 Page 7
1 contains, I believe, all the materials that are listed 1 I was a judge at the time I took the trip.
2 in my report. So I have a section on the billing 2 Q. Any other times that you recall visiting South Dakota?
3 records, pleadings of the bad faith case, pleadings of 3 A Not that I can recall.
4 the malpractice case, discovery in the bad faith case, 4 Q During your time in private practice, both before you
5 discovery in the malpractice case; and I have somewhat 5 took the bench and since you've returned to private
6 in chronological order, although not entirely in 6 practice, have you ever represented Zurich directly as
7 chronological order, emails and correspondence. | 7 a defendant? I'll start there before we talk about
8 think I have the expert reports, mine and your expert, 8 their insureds.
9 the Hinshaw invoices, and I think I have the 9 A Represented Zurich in a lawsuit or --
10 depositions of Mr. -- if | pronounce his name 10 Q Correct.
11 incorrectly, please correct me -- Asberick? 11 A You know, I've practiced 45 years. Nothing in
12 Q Abourezk. 12 particular comes to mind, although I was certainly
13 A Abourezk. And Mr. Palmer. 13 familiar with Zurich before this case, and I don't know
14 Q Other than the materials that you just referenced, will 14 whether because they may have been a carrier on a case
15 you agree that, at least during this deposition, you 15 I had or -- or they could have appeared in front of me
16 will not reference any other materials without telling 16 as a judge. I just don't recall.
17 me? 17 Q_ Solasked about Zurich direct. Do you recall, during
18 A Yes. 18 your time in private practice, ever having a
19 Q_ And perhaps it's natural -- well, bad question. Would 19 significant portion of your practice representing
20 you also agree not to access your phone or your 20 Zurich's insureds?
21 computer other than for purposes of using the screen 21 A No.
22 for Zoom during this deposition without telling me? 22 Q_ What is the name of the law firm that you currently
23 A Yes. 23 work for?
24 Q Now, as | understand it, you're currently a practicing 24 A I work for the firm of Osborn & Maledon.
25 attorney. Is that right? 25 Q Do you know whether other lawyers in your law firm
Page 6 Page 8
1A lam. 1 represent Zurich in claims direct to them over the last
2 Q_ In what states are you licensed? 2 couple years?
3 A_ I'm licensed in states -- in Arizona and in California. 3 A No, I don't.
4 I'm licensed in different federal courts. 4 Q Would you consider Zurich to be a client of the law
5 Q. Have you ever appeared in any proceedings in 5 firm?
6 South Dakota pro hac vice? 6 A No. I could runa conflict check if you would like,
7 A No. 7 but I don't -- to my knowledge -- I mean, if something
8 Q. Have you ever been licensed in the state of 8 came across the board on a conflict, 1 wouldn't think
9 South Dakota? 9 we'd have a conflict. And I don't think we've
10 A No. 10 represented them.
11 Q_ Have you ever been to South Dakota? 11 Q_ As part of your experience in private practice, have
12 A Yes. I've been through Sioux Falls. 12 you appeared as counsel of record defending any bad
13 Q What brought you to Sioux Falls? 13 faith cases?
14 A My wife and I have several children, and my wife, on 14 A You have to understand that in most all contract cases,
15 one of our vacations, wanted to bring our girls to the 15 there's an allegation of breach of the duty of good
16 Little House on the Prairie sites, and one of those 16 faith and fair dealing, and I have done contract
17 sites is in South Dakota. I think we drove across 17 defense cases. So I'm sure there's some allegations of
18 South Dakota from Sioux Falls in the east all the way 18 bad faith and fair dealing in contract cases. In terms
19 over to Pierre and Rapid City on the west. And I can't 19 of insurance bad faith, | can recall suing an insurance
20 remember the particular name of the town, somewhere in 20 company for bad faith and fair dealing. But I do both
21 the middle of the state we went to, which had the 21 plaintiff and defense work, and nothing else comes to
22 particular Little House on the Prairie site she was 22 mind.
23 interested in. 23 Q_ The plaintiffs case which you were referring to, do you
24 Q_ Approximately how long ago was that? 24 recall approximately when that was?
25 A Oh, gosh. That would have been between 1990 and 1995. 25 A Within the last three years.

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(2) Pages 5-8

605.321.3539 ~ audrey@paramountreporting.com

 
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 3 of 8 PagelD #: 340

 

 

American Zurich Ins. Co. and Zurich American Ins. Co. v. Colin F. Campbell
J. Crisman Palmer and GPNA December 19, 2022
Page 13 Page 15
1 bench trial or an arbitration involving the standard of 1 Exhibit 115.
2 care governing attorneys? 2 (Exhibit 115 is marked for identification.)
3 A The one I testified in arbitration had to do with the 3 MR. SUTTON: Have you got it, Scott?
4 reasonableness of attorneys’ fees that were being 4 MR. HOYT: Yes.
5 charged, and the case I testified to over Zoom at a 5 BY MR. SUTTON:
6 bench trial had to do with the reasonableness of the 6 Q_ Does Exhibit 115 contain all of the opinions that
7 settlement. 7 you're proffering in this case?
8 Q How about at deposition? Do you recall being deposed 8 A_ I believe so. I may articulate them more clearly in a
9 in any cases in which you offered opinions regarding 9 conversation, but I believe so.
10 the standard of care of an attorney? 10 QQ Generally explain to me the work that you did in
11 A_ Nothing comes to mind right now, but I'd have to go 11 forming your opinions in this matter.
12 back and review my file. 12 A Well, | worked with a younger partner in the firm on
13 Q Other than this case and then the other case involving 13 this case, Mr. Molinar. So we were sent materials. We
14 Mr. Hoyt, have you been engaged by a lawyer 14 reviewed the materials, we drafted an opinion, and you
15 representing Zurich to be an expert in any other 15 got a copy of the final draft.
16 matters? 16 Q_ What was the division of responsibility between you and
17 A_ Those are the only two matters I've been retained by 17 Mr. Molinar in the work that was performed in forming
18 Zurich. You know, I have -- I'm involved in a case 18 the opinions in this case?
19 right now where I'm an expert witness on the standard 19 A_ Well, we discussed the case. He would have done the
20 of care for an attorney -- actually, for a law firm, 20 first draft of the opinion. I would have reviewed and
21 but their case is -- I've given a preliminary affidavit 21 revised it.
22 as required by Arizona law. I think the case is in 22 So that was sort of the division of
23 discovery right now. 23 responsibility. He would have been the first one to
24 Q_ Does Arizona law require that an affidavit be provided 24 review the records. I would have been the second one
25 in conjunction with filing of the complaint to 25 to review the records.
Page 14 Page 16
1 establish failure to comply with the applicable 1 Q_ Looking at page 2 of your report, continuing through
2 standard of care? 2 page 6, there are 79 individual documents that are
3 A Not with the filing of the complaint, but under Arizona 3 referenced as having been reviewed.
4 state law, we have a rule, Rule 26.1, which is initial 4 My first question is, do you recall reviewing
5 disclosure of evidence. It's a little more rigorous 5 anything else in forming your opinions other than those
6 than the federal rule. But the preliminary affidavit 6 items?
7 has to be filed with the Rule 26.1. 7 A There are 79 items listed here. [ don't recall
8 Q Now, as I understand it, you're being compensated for 8 reviewing anything else, but I haven't sat down and
9 your work here today, correct, or in this case? 9 compared this list with everything I have in this
10 A Correct. 10 notebook in front of me.
11 Q And your report indicates that you're charging $775 an 11 Q_ And in fairness, I'll acknowledge that this list does
12 hour. Is that right? 12 not include Mr. Hieb's expert disclosure because that
13 A Yes. That's my regular hourly rate. 13 was provided after your report. I assume you've
14 Q Can you give me an estimate as to the total amount 14 reviewed that.
15 you've incurred in fees to date on your work in this 15 A Yes, I have.
16 matter? 16 Q Other than Mr. Hieb's expert disclosure, do you recall
17 A_ No, [really can't. [ could pull the billings and get 17 reviewing any other documents after you prepared your
18 you that information, but I don't have it off the top 18 report in this case?
19 of my head. 19 A_ [just don't recall if anything came in after we did
20 Q_ Do you have a copy of your report with you or before 20 our report. I don't think so.
21 you, Colin? 21 Q The 79 individual documents, or groupings of documents,
22 A Ido. Let me turn toit. It's in this three-ring 22 on pages 2 to 6, have you personally reviewed all of
23 notebook I was telling you about. 23 those documents?
24 [have it in front of me. 24 A_ I'm pretty sure most of them I have reviewed or
25 Q In your report -- first of all, let's mark that as 25 skimmed. I put more emphasis on some rather than

 

 

 

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(4) Pages 13 - 16

605.321.3539 ~ audrey@paramountreporting.com

 

 
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 4 of 8 PagelD #: 341

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F. Campbell
December 19, 2022

 

 

 

 

Page 17 Page 19
1 others. So, for example, I probably spent more time 1 what the key documents are as opposed to forming my own
2 with the billing records because the billing records 2 opinions based on his draft and my review of the
3 give a chronological summary, really, of what the 3 records.
4 attorneys did on a case. So Mr. Palmer's billing 4 Q Will you please tum to page 6 of your report.
5 records I spent time -- probably more time there. I 5 A_ I'm there.
6 also spent more time with the emails and correspondence 6 Q There's an “undated chronology of underlying case"
7 with the client. | also probably spent more time on 7 identified as Item Number 78. Do you see that?
8 the depositions of Mr. Palmer and Mr. Abourezk. 8 A Isee it.
9 So I gave less emphasis on -- you know, for 9 Q Do you know who prepared the chronology that's
10 example, the Hinshaw invoices really aren't 10 referenced in that item?
11 particularly relevant to the opinion I have, Although 11 A My recollection from the billing records is that
12 there's a lot of background with respect to the 12 Palmer's law firm did a chronology or timeline. There
13 workmen's comp case, that's not necessarily informative 13 was an associate or a paralegal who worked on it, and
14 to my opinions. 14 my recollection is, among the materials, we were
15 Q_ [think you testified earlier that Mr. Molinar reviewed 15 provided that chronology. It seems to have been worked
16 all of the documents and did the first draft of the 16 on several times within the firm. And I only say that
17 report. Is that right? 17 because my recollection is, of the billing records,
18 A Correct. 18 someone is working on a chronology, then he goes to it
19 Q And I assume he would have billed for his time. Is 19 and works on it again. In particular, I think when the
20 that correct? 20 adjuster asked for more detail from the firm about the
21 A_ That's our normal course. 21 case, I think that chronology was updated.
22 Q AndI don't blame you. I would have expected him to. 22 Q Sol want to make sure that I've covered what you've
23 A Well, he also has a lower hourly rate than mine, and we 23 done in forming your opinions. You reviewed the
24 try, when we can, to use people with lower hourly 24 documents we've identified in your report. There was a
25 rates, as you can imagine. 25 draft of the report created in which you worked with
Page 18 Page 20
1 Q_ [can appreciate that as well. 1 Mr. Molinar in finalizing it. Is there any other work
2 Would you anticipate that your billing entries 2 that you performed in forming the opinions contained
3 would capture when he reviewed those documents? 3 within Exhibit 115?
4 A The normal practice in the firm is to do daily billing 4 A Well, I've been through the report several times. You
5 records and then they're inputted, and then at the end 5 know, things take place over time, and if there was --
6 of the month, the billing records are reviewed and 6 something comes up, I'd need to review the materials to
7 determination is made of whether to write off anything 7 refresh my recollection.
8 for billing judgment. 8 I went back through all these materials in
9 So the billing records, | would anticipate, would 9 preparation for my deposition. If we had meetings
10 let you know what's done on any particular day. 10 where I was going to be talking with the client,
11 Q How about your entries? I know that there's -- we all 11 would have gone through materials to refresh my
12 have different levels of detail that we provide in the 12 recollection again.
13 narrative description of our entries. Sometimes it 13 So [haven't just looked at them one time, is what
14 matters even client to client. 14 I'm suggesting.
15 Would you anticipate that your billing entries 15 Q Is there any other work you recall performing in order
16 would show the dates in which you reviewed the actual 16 to form your opinions in this matter?
17 documents which are contained on paragraphs [sic] 17 A_ I don't know what you mean by "any other work."
18 2 through 6 of your report? 18 Q You cite some legal resources in your opinion,
19 A My practice is to do daily billing records, and they're 19 specifically the Rules of Professional Conduct as well
20 inputted. So I would anticipate my daily billing 20 as the Restatement (Third) of Lawyers; is that right?
21 records would say what I did. 21 A Correct.
22 Q_ Did you rely on Mr, Molinar to identify for you what he 22 Q Is there any legal research that you performed other
23 perceived to be the key documents as part of the 23 than the reference to the Rules of Professional Conduct
24 review? 24 and the Third Restatement of Lawyers?
25 A [don't know if I would rely upon Mr. Molinar as to 25 A [don't think in terms of legal research. However, I

 

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(5) Pages 17 - 20

605.321.3539 ~ audrey@paramountreporting.com
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 5 of 8 PagelD #: 342

American Zurich Ins, Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F, Campbell
December 19, 2022

 

wow nau fw DN

NNN NN FPP YP PP PP PP
BWNP OW DAN AU PR WNEH OO
> 0 > 0

25Q

Page 21

have practiced for 45 years, and [ have a great deal of
experience with respect to a wide variety of cases.

So, you know, I bring all of that into the opinions

that I form, and work I've done in the past involves
research with respect to the conduct of lawyers and
what's expected of lawyers. I sat on the State Bar
Ethics Committee, the State Bar here in Arizona, in the
1980s. I was the chair of that committee. When I was
a judge, I believe I also sat on the judicial ethics
committee and taught judicial ethics. I have a lot of
training and experience in what I believe goes into the
concept of the standard of care.

The Rules of Professional Conduct that you cite in
those reports, is that the model rule of professional
conduct or is that the South Dakota specifically
adopted rule?

I would have to ask Mr. Molinar. I didn't -- he

didn't -- I'm not aware of any substantial difference
with respect to the standard of care rules he's citing
between South Dakota and the rest of the country.

Did you perform any South Dakota-specific research in
forming your opinions in this case?

No, I don't think so. I've certainly read your

expert's report.

Let's turn to page 6 of your report, please.

wor nau fF Ww DN

NNNNNNPRP PPP PPP PB
UP WNP OH MOA AM BWNR OS

Page 23

factual basis for your opinions?

Well, it's exactly what it says: It was just to state

the key facts with respect to the opinion.

How did you decide which facts to include in that
section and which ones not to include?

Well, my opinion in the case is that Mr. Palmer did not
meet the standard of care with respect to his
representation of Zurich, and these are facts that bear
upon that opinion.

Are you aware of any other facts that you're relying
upon to form the basis for that opinion that are not
identified in pages 6 through 9 of your report?

As [ told you, I relied primarily upon the billing
records and the emails and correspondence. You know,
there may be certain -- you know, when you're looking
at the course of events, you can look at the billing
records and see when certain things happened. You can
look at the billing records when the correspondence was
done and then go to the correspondence. I mean, I'm
sort of relying on everything I was given. These were
key facts. That's all I'm trying to express.

Are you assuming, in forming your opinions in this
case, that all 22 of the facts that you've identified

are proven to be true?

Well, we haven't had a trial in the case, of course.

 

wow nut WN PF
>

NNNN NN PPP PPP RP PP BP
ub WNP OH MAAMH FEF WHER OG
Q > 2 >

 

Page 22

All right.

On page 6 through page 9 of the report, there are 22
specific key facts that you have identified; is that
right?

Yes.

I recognize that Item 13's got a bunch of subparts, but
at least there's 22 specific paragraphs, correct?

On the report there's 22 specific paragraphs, correct.
What were you trying to memorialize in those 22
specific paragraphs, or at least in that section of the
report?

Well, as it says at the beginning -- it says "Key
Facts." So these are facts that -- I said it's my
understanding these facts are or will be supported by
competent evidence in the litigation, and then I've
identified and relied upon the following facts. So!
was trying to set forth key facts to the opinions |
reached.

Are there any facts -- I'm sorry. I thought you had
finished. Go ahead. I'm sorry.

Well, I was just going to say, there may be additional
facts I relied upon, also. But, you know, we'd have to
talk about a particular subject, I guess.

Was it your intent in the Key Facts section to

memorialize the most important facts that form the

Paramount Reporting ~ Audrey M. Barbush, RPR

 

wort nau fF WN

NNNNYNNHPP HP EPP BP EP BP Pp PB
mF WYP OW OAT OD Uu &® WwW DH FP SO

Page 24

So I'm relying on emails, correspondence, billing
records, depositions. There's some source for most all
of these facts.

And I appreciate that. So in forming your opinions,
you're assuming that the jury will agree with you that
the evidence at trial proves all 22 of those facts,
correct?

I don't think they need to find all 22 of those facts.

I mean, I haven't sat down and done a flowchart.

Was it your assumption that those facts will be proven
to be true when you formed your opinions?

Well, take an example. I see here we have Fact
Number 19, which is that AZIC decided to retain Hinshaw
Culbertson as primary counsel in the suit. I mean,
that fact, whether it exists or not, doesn't affect my
opinions in the case. As I think I told you earlier

on, what Hinshaw did in the case doesn't really inform
my opinions.

Can you tell me, as you're sitting here today, whether
you assumed that all of the items within Number |
through 22 were, in fact, true as you describe them?
This sets forth sort of an outline of what happened in
the case, and in terms of being a chronological
outline, I think it's an accurate chronological outline
of the case.

 

(6) Pages 21 - 24

605.321.3539 ~ audrey@paramountreporting.com
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 6 of 8 PagelD #: 343

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F. Campbell
December 19, 2022

 

 

 

 

Page 29 Page 31
1 better position to opine on that issue than you? You 1 be a determination Zurich committed bad faith in the
2 sat through his deposition -- 2 Leichtnam case?
3 A He would be ina better position to opine on the 3 A My opinion in this case is that Mr. Palmer, at the
4 application of the parol evidence rule in South Dakota 4 inception of the case, when he was asked to do a 30-day
5 than I would. 5 report and a 90-day report -- he had formed his
6 Q Yes. Would you agree with that? 6 opinions, as I understand from his deposition, very
7 A Like! said, yes, he would be in a better position to 7 early on in the case, and he did not provide the report
8 opine as to the application of the parol evidence rule 8 to the adjuster, either on a 30-day report or a 90-day
9 in South Dakota than I would. 9 report, that he thought the case was essentially
10 Q_ Will you please turn to page 7 of your report. 10 hopeless.
11A Yes. 11 The one time we have a -- I think the adjuster
12 Q_ Item Number 11. 12 calls it a high-level analysis of the case, happens in
13 A Yes. 13 December of the year the case was filed, and then I
14 Q There's a statement that says, at the second sentence, 14 believe he files it sort of like right before
15 "Given the number of files she was monitoring, when she 15 Christmas. It's a letter. The adjuster writes back in
16 received an Answer, she assumed she had already 16 early January asking for further information with
17 previously received it and approved it before it was 17 respect to it, which is provided, | think, on or about
18 filed.” 18 the end of the month or February Ist, and then the
19 Do you recall what the evidence is that you were 19 adjuster goes to seek settlement authority. I think
20 relying upon in making that statement? 20 all of that should have been done early on in the case.
21 A No. 21 Q = AsIreviewed your report in this case, it appears to
22 Q Can you identify any evidence that indicates that? 22 me that -- and correct me if I'm wrong -- that your
23 A You know, I don't -- I do not believe I have a copy of 23 opinions are that Attorney Palmer failed to comply with
24 Ms. Wagner's deposition, and | don't know if we were 24 the applicable standard of care in handling the defense
25 advised about this or whether it comes from another 25 of the case to allow Ms. Wagner to consider the early
Page 30 Page 32
1 source. 1 settlement offer. Is that right?
2 Q_ What other source could it be? 2 A I'mnot sure that completely captures my opinion.
3 A_ I don't know. 3 Q What else am I missing?
4 Q Were you told to assume that fact from counsel? 4 A My opinion in this case -- | understand your expert
5 A I donot have that recollection. 5 wants to talk about the local culture, and I don't
6 Q_ Do you know where that statement came from at all? 6 disagree with that. Adjusters hire local attorneys to
7 A Idonot. 7 find out about the local culture. But there's also an
8 Q. And you have not reviewed Ms. Wagner's deposition, 8 obligation that a counsel has to the adjuster and the
9 correct? 9 insurance company itself.
10 A_ [have not. 10 If this is a case, as your expert suggests, as
11 Q > Will you look at Item (k) on page 8 of your report, 11 Mr. Palmer suggests, is that it is of the utmost
12 please. 12 urgency that we consider settlement early in the case,
13 A_ Did you say (k)? 13 which is not inconsistent with the guidelines that
14 Q Yeah. It'd be 13(k). 14 Zurich gave him -- [ think it says in two different
15 A I'mwith you. 15 places in the guidelines Zurich is interested in early
16 Q_ I just want to make sure I understand what you're 16 settlements -- I think the standard of care required
17 writing here. So it says "Palmer never told Wagner 17 Mr. Palmer to get on this case immediately to make
18 that he had already concluded that there would be a 18 decisions with respect to it and advise the adjuster,
19 finding of bad faith, to which Zurich had no defenses, 19 to give written communications to the adjuster so that
20 preventing her from using that conclusion in her 20 Zurich can make good, quick decisions about an early
21 analysis or deciding whether to change counsel." 21 settlement. That's not what happened in this case.
22 First of all, did I read that correctly? 22 I think Mr. Palmer fell below the standard of care
23 A You read it correctly. 23 by his failure to analyze the case early on and give
24 Q Is it your understanding of the facts in this case that 24 adequate information to the carrier in writing --
25 Attorney Palmer never told Dawn Wagner that there will 25 because an adjuster has to have a written file that the

 

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(8) Pages 29 - 32

605.321.3539 ~ audrey@paramountreporting.com
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 7 of 8 PagelD #: 344

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F. Campbell
December 19, 2022

 

 

 

 

Page 33 Page 35
1 adjuster can bring to the higher-ups to get settlement 1 discovery disputes ongoing and those discovery disputes
2 authority -- and my impression is that Mr. Palmer just 2 can take an early settlement offer off the table, I
3 didn't see any urgency in doing that and didn't comply 3 don't see Mr. Palmer recommending that we -- you know,
4 with the client's directions. 4 maybe we enter into a stipulation to stay discovery for
5 Q Is there any other manner in which you're opining that 5 three months and do an intensive look at settling this
6 Attorney Palmer failed to comply with the applicable 6 case before things get out of whack.
7m standard of care? 7 I mean, I guess what I -- what I feel falls below
8 A Well, we can go through it. 8 the standard of care in this case is, what | hear
9 So, for example, when he didn't do a 30-day 9 people are supposed to in South Dakota with respect to
10 report, that didn't comply with the standard of care. 10 this particular plaintiffs attorney I don't see
11 When he didn't do a 90-day report, that didn't 11 Mr. Palmer doing.
12 comply with the standard of care. 12 And so -- I'm sorry. Go ahead.
13 When he filed an answer without showing it to the 13 He may, on a high level, say it's a difficult attorney
14 client, when the client said they wanted to see it, 14 to work with, but he's not evaluating the case early;
15 that didn't comply with the standard of care. 15 he's not giving written documents to the adjuster so
16 When he didn’t document to the insurance adjuster 16 the adjuster could get settlement authority early. It
17 why he was filing no affirmative defenses or why he 17 seems like at every turn he sort of pushes it down the
18 thought the case, at an early stage, was hopeless and 18 road.
19 he didn’t communicate that, that didn't comply with the 19 Now, you understand that a mediation did occur and the
20 standard of care. 20 settlement offer from plaintiff's counsel went from
21 We can go through different parts of the case -- 21 $325,000 prior to the mediation to $2 million at the
22 you know, they get the early settlement offer in 22 mediation. Do you understand that to be the facts?
23 September, and he says it's important, you know, with 23 Yes. I believe when they went -- whatever the early
24 Michael, to deal with these early settlements, and in 24 settlement offer was that's set out in the letter had
25 the same letter I think he also says we don't have to 25 moved to $2 million or plus at the actual time of
Page 34 Page 36
1 respond right away. As far as | can tell, nothing 1 mediation, I think, in October of 2016.
2 really happens between September of the year it's filed 2 And so the failures of standard of care that you've
3 and December before he finally writes an evaluation of 3 just testified about that prevented Zurich from
4 the case that the adjuster can look at and bring to her 4 properly being able to settle the case -- and |
5 superiors. You know, why mediation gets pushed off as 5 understand there's a myriad of things that you claim
6 long as it does... 6 Mr. Palmer failed to do -- did those all occur through
But when I read Mr. -- when | read your expert's 7 the time of his engagement up through the mediation?
8 report and I read Mr. Abourezk's deposition, it seems 8 Well, certain things happened at particular times. For
9 that competent counsel in South Dakota know that you 9 example, the failure to give a 30-day report or a
10 need to respond to these things very quickly and very 10 90-day report happened at particular times.
11 early, and | don't see, really, that happening where 11 I think, in general, the information the client
12 the actions of Mr. Palmer are being communicated to the 12 needed to take advantage of an early settlement offer
13 adjuster. 13 was not put in writing and communicated.
14 Q_ The failures of standard of care that you've just 14 Are you opining that there was any failure of the
15 identified -- I just want to make sure that I know 15 standard of care by Attorney Palmer after the
16 everything that you intend to opine. Are there any 16 mediation?
17 other opinions of the failure of the standard of care 17 Well, there are things that happened after the
18 that you have formed and are offering in this case? 18 mediation that | think may bear upon his attitude
19 A Well, I mean, listening to your expert this morning 19 toward the case or his standard of care on the case but
20 saying that he doesn't like to do mediation, and 20 not with respect to the case-within-the-case element
21 actually, the inference | drew from your expert's 21 with respect to early settlement, if that makes sense.
22 opinion was that you do not want to go to him and ask 22 Yeah, it does. So I just want to make sure that I
23 for mediation, that's disastrous, I don't see that in 23 understand, because when | read your report, your
24 Mr. Palmer's advice to the client. 24 opinions appear to indicate to me that Attomey Palmer
25 With respect to the idea that if you have 25 fell below the standard of care on a series of things

 

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(9) Pages 33 - 36

605.321.3539 ~ audrey@paramountreporting.com

 
Case 5:20-cv-05026-KES Document 55-6 Filed 02/01/23 Page 8 of 8 PagelD #: 345

American Zurich Ins. Co. and Zurich American Ins. Co. v.
J. Crisman Palmer and GPNA

Colin F. Campbell
December 19, 2022

 

 

 

 

Page 37 Page 39
1 and that then, in the case within the case, caused harm 1 reasonably, you have to prepare the case, you have to
2 to the client because it prevented the client from 2 research the case, you have to keep your client
3 taking advantage of the early settlement offer. 3 informed of the case, all within the context of the
4 Is that a fair synthesis of what your opinions are 4 particular circumstances of the case.
5 in this case? 5 Q. Are you considering whether there are any
6 A_ It's a fair synthesis of my opinions with respect -- in 6 South Dakota-specific aspects of the applicable
7 the context of the case within the case, let's just 7 standard of care in this case?
8 say. 8 A Well, the circumstances of every case are important,
9 Q Are you opining that any of the other conduct by 9 and from what | understand the particular South Dakota
10 Attorney Palmer after the mediation caused any harm to 10 aspects, the locality, as your expert refers to it, has
11 Zurich? 11 to do with this particular lawyer and how he practices.
12 A Well, I have the opinion that certain things, like not 12 Q Would you agree with me that that's an appropriate
13 consulting with the client about affirmative defenses, 13 consideration in evaluating the standard of care in
14 fall below the standard of care. I do not have an 14 this case?
15 opinion, after the settlement conference, with respect 15 A Yes, I would,
16 to the case within the case. 16 Q_ Did you speak with any South Dakota lawyers in
17 Q_ Tell me what things you are claiming Attorney Palmer 17 preparation of your opinions in this matter?
18 did after the mediation that form the basis for your 18 A No.
19 opinions he failed to comply with the applicable 19 Q Now, as I understand it, one of your opinions is that
20 standard of care. 20 Attomey Palmer fell below the standard of care in
21 A Well, it's sort of like the whole issue of affirmative 21 failing to plead certain affirmative defenses in this
22 defenses, which are eventually -- as some of them are 22 case. Is that true?
23 determined waived; I think the magistrate ruled on one 23 A_ [think you misstated it.
24 of them -- again, I think it violates the standard of 24 Q Okay. Correct me.
25 care to not discuss with the client and present to the 25 A My opinion -- I'm sorry?
Page 38 Page 40
1 client written documentation regarding the answer and 1 Q = Correct me, please.
2 your opinion with respect to raising certain 2 A I think he had a duty to review the file for
3 affirmative defenses. 3 affirmative defenses and identify possible affirmative
4 Q Any other opinions that you have regarding the 4 defenses, He then had a duty to decide whether he
5 affirmative defenses in which you claim Attorney Palmer 5 thought it would be appropriate to plead them or not
6 failed to comply with the applicable standard of care? 6 plead them, and he had a responsibility to discuss that
7 A Well, I think, you know, he could have initiated -- the Tt with the client because ultimately it's going to be the
8 plaintiff initiated discovery requests. He certainly 8 client's decision whether to assert the affirmative
9 could have initiated discovery requests at the 9 defense or not.
10 beginning of the case, but it's my understanding that 10 So, for example, if he were to look at the file,
11 you would want to squelch those or put them on hold if il look at the affirmative defenses, and reach the
12 you wanted to take advantage of an early settlement 12 conclusions that Mr. -- again, if I'm mispronouncing
13 offer from this particular attorney. 13 his name, tell me -- Mr. Heit, your expert --
14 Q_ Are there any other opinions that you have that 14 Q Hieb.
15 Attorney Palmer failed to comply with the applicable 15 A_ --he has a duty to -- Heath -- he has a duty to
16 standard of care after the mediation? 16 communicate that information to his client so that his
17 A Nothing comes to mind right now, but you may ask a 17 client can make a decision.
18 question that will jog my memory. 18 To file an answer without communicating with your
19 QQ And will you let me know if I do? 19 client when your client has told you to "Run the answer
20 A I'll try to. 20 by me" and to file an answer without affirmative
21 Q_ Now, as I reviewed Sections 9 and 10 of your report -- 21 defenses without having a chance to talk to your client
22 let me ask it this way: In forming your opinions in 22 about it and discuss it with your client, it falls
23 this case, what did you determine to be the appropriate 23 below the standard of care.
24 standard of care? 24 Q Are you offering any opinions whether the failure to
25 A I think the standard of care is that you have to act 25 include the proffered affirmative defense in this case

 

 

Paramount Reporting ~ Audrey M. Barbush, RPR

(10) Pages 37 - 40

605.321.3539 ~ audrey@paramountreporting.com

 
